Case 2:03-cr-20214-.]DB Document 83 Filed 05/10/05 Page 1 of 2 Page|D 68
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IN THE UNITEI) STATES DIsTRICT §§ ‘ g guamz 81 lie
THE WESTERN DISTRICT OF TE ‘S‘E ' '

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UNITED STATES ()F AMERICA,

s
PLAINTIFF,
a
v. No. 03-20214-B
s
ROBERT STEPHEN PAYNE,
a
DEFENDANT.

 

ORDER DIRECTING THAT THE RECoRD BE SUPPLEMENTED

 

This matter is before the Court on motion by the defendant Payne to
supplement the record with the transcribed instructions provided to the jury
at the trial. For good cause shown, it is ordered that the record in this cause
shall be supplemented With said transcript

lt is so ORDERED this the day of May, 2005.

 

.Da iel Breen j
nit States DistrictJudge

UNITED sTATE D"rsrC COURT - WESERNT D's'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:03-CR-202]4 Was distributed by faX, mail, or direct printing on
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Honorable .l. Breen
US DISTRICT COURT

